                              NO. 07-10-00092-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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AUGUST 12, 2010
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                IN THE INTEREST OF C.G.H. AND K.J.H., CHILDREN
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                FROM THE 286TH DISTRICT COURT OF HOCKLEY COUNTY;
                                       
                 NO. 05-04-19953; HONORABLE PAT PHELAN, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Appellant, Christopher Hafer, perfected this appeal from the trial court's order in suit to modify parent-child relationship.  The clerk's record was filed on April 1, 2010, with a supplemental clerk's record filed on June 9.  The reporter's record was filed on May 12, with a supplemental reporter's record filed on May 14.  Hafer requested an extension of time to file his brief, which was granted, and his brief was due to be filed on July 12.  Hafer did not file his brief nor request an extension of time to file his brief by July 12.  By letter dated July 22, the Clerk of this Court notified Hafer that his brief was past due and that failure to file his brief with this Court on or before August 2, could result in dismissal of his appeal pursuant to Rules 38.8(a) and 42.3 of the Texas Rules of Appellate Procedure.  Hafer has neither filed his brief nor responded to this Court's July 22 correspondence.
	Accordingly, we dismiss this appeal for want of prosecution and failure to comply with a notice from the Clerk of this Court requiring a response or other action in a specified time.  See Tex. R. App. P. 38.8(a)(1), 42.3(b), (c).


																					Mackey K. Hancock
									Justice

